| ResetForimasp 2:18-cr-00173-GW [DOIUEDRSTATESDesTRIGOCOURTage 1 of 2 Page ID #:255
CENTRAL DISTRICT OF CALIFORNIA

 

CASE SUMMARY

 

 

 

 

 

 

 

Case Number | 0 L

 

U.S.A. v. Andrew Pineda

 

[¥] Indictment [_] Information

NOTE: All items MUST be completed. If you do not know the answer or a question is not applicable to your, fase, enter "N/A.

OFFENSE/VENUE

a. Offense charged as a:

[_] Class A Misdemeanor [_] Minor Offense [] Petty Offense
[|] Class B Misdemeanor [_] Class C Misdemeanor [y] Felony
b. Date of Offense Unknown to March 29, 2018 .

 

c. County in which first offense occurred

Los Angeles

 

d. The crimes charged are alleged to have been committed in
(CHECK ALL THAT APPLY):

Los Angeles

[| ] Orange

|_| Riverside

[_] San Bernardino

|] Ventura

|] Santa Barbara
|_| San Luis Obispo
[_] Other

Citation of Offense 18 USC 1962(d); 21 USC 846

 

 

e. Division in which the MAJORITY of events, acts, or omissions
giving rise to the crime or crimes charged occurred:

Western (Los Angeles, San Luis Obispo, Santa Barbara, Ventura)
[| Eastern (Riverside and San Bernardino) |_|] Southern (Orange)

RELATED CASE

Has an indictment or information involving this defendant and
the same transaction or series of transactions been previously
filed and dismissed before trial?

No [_] Yes
If "Yes," Case Number: N/A

 

Pursuant to General Order 16-05, criminal cases may be related
if a previously filed indictment or information and the present
case:
a. arise out of the same conspiracy, common scheme,
transaction, series of transactions or events; or

b. involve one or more defendants in common, and would
entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by different judges.

Related case(s), if any (MUST MATCH NOTICE OF RELATED
CASE): United States v. Michael Lerma, et al. (filed concurrently)

 

 

CR-79 (19/17)

Investigative agency (FBI, DEA, etc.) FBI

CASF SUMMARY

Defendant Number 34
Year of Birth 1986

 

 

 

 

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PREVIOUSLY FILED COMPLAINT/CVB CITATION
A complaint/CVB citation was previously filed Qh: N/A

Case Number: N/A wee
Assigned Judge: N/A
Charging: N/A
The complaint/CVB citation:

[_] is still pending

|] was dismissed on: N/A
PREVIOUS COUNSEL
Was defendant previously represented?
IF YES, provide Name: N/A

Phone Number: N/A

COMPLEX CASE
Are there 8 or more defendants in the Indictment/Information?

Yes* [| No

Will more than 12 days be required to present government's
evidence in the case-in-chief?

Yes* [|] No

*AN ORIGINAL AND 1 COPY (UNLESS ELECTRONICALLY FILED)
OF THE NOTICE OF COMPLEX CASE MUST BE FILED AT THE
TIME THE INDICTMENT IS FILED iF EITHER "YES" BOX IS
CHECKED.

SUPERSEDING INDICTMENT/INFORMATION
IS THIS ANEW DEFENDANT? [| Yes [ |] No
This isthe N/A superseding charge (i.e., 1st, 2nd).

The superseding case was previously filed on:
N/A

Case Number N/A

 

 

 

No [ ] Yes

 

 

 

 

The superseded case:
[_] is still pending before Judge/Magistrate Judge

N/A
[] was previously dismissed on N/A

 

 

Are there 8 or more defendants in the superseding case?

|] Yes* [| No
Will more than 12 days be required to present government's
evidence in the case-in-chief?

[| Yes* [| ] No
Was a Notice of Complex Case filed on the Indictment or
Information?
[ |] No

[ | Yes
*AN ORIGINAL AND 1 COPY OF THE NOTICE OF COMPLEX CASE
MUST BE FILED AT THE TIME THE SUPERSEDING INDICTMENT IS
FILED IF EITHER "YES" BOX IS CHECKED.

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Case 2:18-cr-00173-GW [DROTED STATES DIsTtiGSduURTage 2 of 2 Page ID #:256
CENTRAL DISTRICT OF CALIFORNIA

CASE SUMMARY

 

INTERPRETER
Is an interpreter required? [| YES NO
IF YES, list language and/or dialect:

 

OTHER

Male [| Female

U.S. Citizen [|] Alien

Alias Name(s) "Mighty," "Shy Boy"

 

 

This defendant is charged in:
[_] All counts

Only counts: 1,6

|] This defendant is designated as "High Risk" per
18 USC § 3146(a)(2) by the U.S. Attorney.

[| This defendant is designated as "Special Case" per
18 USC § 3166(b)(7).

Is defendant a juvenile? [-] Yes No
IF YES, should matter be sealed? [-] Yes [_] No

The area(s) of substantive law that will be involved in this case
include(s):

[_] financial institution fraud [] public corruption

[_] government fraud |] tax offenses

[_] environmental issues [| mail/wire fraud
narcotics offenses [_] immigration offenses
violent crimes/firearms [_] corporate fraud

Other Racketeering

 

CUSTODY STATUS

Defendant is not in custody:
a. Date and time of arrest on complaint: N/A

b. Posted bond at complaint level on: N/A
in the amount of $ N/A

c.PSA supervision? [_] Yes [_]No

d. Is on bail or release from another district:
N/A

 

Defendant is in custody:
a. Place of incarceration: [_] State [_| Federal

b, Name of Institution: N/A
c, If Federal, U.S. Marshals Service Registration Number:

 

 

N/A
d.[__] Solely on this charge. Date and time of arrest:
N/A
e. On another conviction: [] Yes [_] No
IF YES: [_] State |] Federal |] Writ of Issue

f. Awaiting trial on other charges: [-] Yes [_] No

IFYES: [| State [_|Federal AND
Name of Court: N/A

 

Date transferred to federal custody: N/A

This person/proceeding is transferred from another district
pursuant to F.R.Cr.P. 20 21 40

 

 

EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information. EXPLAIN: N/A

 

 

Date 03/28/2018

Signature of Assistant U.S. Attorney
Max B. Shiner
Print Name

 

CR77 (19/171

CASE CLIMMARY Pana 7 nf?

 
